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                                                                            Dec 02 2020
     2
                                                                             4:48 pm
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                                                                            s/ zenobiaa
     4

     5                              UNITED STATES DISTRICT COURT
     6                          SOUTHERN DISTRICT OF CALIFORNIA
     7                                January 2019 Grand Jury

     8   UNITED STATES OF AMERICA,                Case No. 20CR1227-GPC
     9                 Plaintiff,                 I N D I C T M E N T
                                                    (Superseding)
10             v.
                                                  Title 18, U.S.C., Sec. 1341 -
11       JENNINGS RYAN STALEY,                    Mail Fraud; Title 18, U.S.C.,
                                                  Sec. 545 - Importation Contrary
12                     Defendant.                 to Law; Title 18, U.S.C.,
                                                  Sec. 1001 (a) (2) - False Statement;
13                                                Title 18, U.S.C., Sec. 1028A -
                                                  Aggravated Identity Theft;
14                                                Title 18, U.S.C., Secs. 545,
                                                  981 (a) (1) (C), and 982 (a) (2) (B), and
15                                                Title 28, U.S.C., Sec. 2461(c) -
         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___J
                                                  Criminal Forfeiture
16

17            The grand jury charges, at all times material to this Superseding
18       Indictment:

19                                   Introductory Allegations

20                 COVID-19, hydroxychloroquine, chloroquine, and mefloquine

21            1.      COVID-19 is an infectious disease caused by a newly-discovered
22       coronavirus.     This new virus was unknown before the outbreak began in
23       Wuhan, China, in December 2019.       The most common symptoms of COVID-19
24       are fever, tiredness, and dry cough, although some people who get COVID-

25       19 become seriously ill and develop difficulty breathing, and some cases

26       result in death.    On March 11, 2020, the World Health Organization (WHO)

27       recognized the outbreak as a "pandemic."         As of April 5, 2020, the WHO

28       reported over 1.1 million cases worldwide, with over 60,000 deaths.              At


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     1    that point, the WHO web site stated, "At this time, there are no specific

     2    vaccines or treatments for COVID-19.                           However, there are many ongoing
     3   clinical trials evaluating potential treatments.n
     4           2.       As    of April     7,    2020,    the Centers            for    Disease Control         and
     5   Prevention (CDC) noted that there were "no drugs or other therapeutics
     6   approved by the U.S.               Food and Drug Administration [FDA]                     to prevent or
     7   treat COVID-19.n              The CDC noted that two "oral prescription drugs that
     8   have    been      used       for   treatment      of     malaria       and      certain    inflammatory
     9   conditions,       n    namely hydroxychloroquine                 and   chloroquine,        were    "under
10       investigation           in    clinical     trials        for    pre-exposure        or    post-exposure
11       prophylaxis           of SARS-CoV-2        infection,          and treatment       of patients with
12       mild, moderate, and severe COVID-19.n

13              3.        By    letter      dated     March        28,     2020,      the    FDA    noted        that
14       "[c]hloroquine phosphate and hydroxychloroquine sulfate are not FDA-

15       approved for treatment of COVID-19.                  n    The FDA encouraged clinical trials

16       to determine the effectiveness of these drugs                                in treating COVID-19.

17       However, the FDA determined that "[b]ased on the totality of scientific

18       evidence available to FDA, it is reasonable to believe that chloroquine

19       phosphate and hydroxychloroquine sulfate may be effective in treating

20       COVID-19,    n   and that circumstances warranted the emergency approval of

21       the    drugs.         Accordingly,        the    FDA authorized             "the   emergency      use    of

22       chloroquine           phosphate     and     hydroxychloroquine               sulfate,               when

23       clinical trials are not available, or participation is not feasible,n

24       subject to the specific terms of the authorization letter.                                 These terms

25       included     requirements          that    the    medications          be    distributed     from       the

26       Strategic National Stockpile to public health authorities, and that they

27       "may only be used to treat adult and adolescent patients who weigh 50 kg

28       [110 pounds]          or more hospitalized with COVID-19 for whom a                            clinical

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     1    trial is not available, or participation is not feasible."                   In sum, as

     2    of March 28, 2020, hydroxychloroquine and chloroquine were FDA approved

     3    for use only to treat patients under strict conditions, namely patients

     4    hospitalized with COVID-19 who could not participate in a clinical trial,
     5    among other limitations.

     6          4.      Mefloquine was a drug approved by the FDA for use in treating
     7   malaria.        Like   hydroxychloroquine      and    chloroquine,       mefloquine    was
     8   available by prescription only.

     9                                    Skinny Beach Med Spa

10             5.       Skinny Beach Med Spa      (Skinny Beach)       was a business based in

11       San   Diego,    California    that    advertised     services    such as    weight    loss

12       programs,      hyperbaric    oxygen    therapy,      Botox,     tattoo   removal,     hair
13       removal,    and fat    transfer.      Skinny Beach was         owned and operated by

14       defendant JENNINGS RYAN STALEY, a medical doctor who was licensed by the
15       State of California.

16                                             Counts 1-3
                                               Mail Fraud
17                                          18 u.s.c. § 1341
18             6.    The foregoing paragraphs are hereby incorporated by reference
19       as if fully stated herein.
20             7.    Beginning no later than March 27, 2020, and continuing up to

21       at least April 17,       2020,   within the Southern District of California,

22       defendant JENNINGS RYAN STALEY           (STALEY)    knowingly and with the intent

23       to defraud,     devised a material scheme and artifice to defraud,               and to

24       obtain money and property by means of materially false and fraudulent
25       pretenses, representations, and promises.
26             8.    It was the purpose of the scheme for STALEY to profit from the

27       COVID-19    pandemic   by    obtaining    hydroxychloroquine,       chloroquine,      and

28       mefloquine "by any means necessary," including lying to U.S. Customs and
                                                    3
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     1    Border Protection to import bulk hydroxychloroquine powder from China

     2   and     generating    sham prescriptions          written   without   the   knowledge   or

     3   consent of the listed patient, and then by selling those drugs to Skinny

     4   Beach customers and others at a significant profit, including by means

     5   of false and fraudulent claims that the drugs were guaranteed to cure
     6   COVID-19.

     7           9.   To execute the scheme,          STALEY used the following manner and

     8   means, among others:

     9                a.      STALEY   and   Skinny       Beach   would   solicit    customers   by
10       sending out mass emails and other messages, and via a dedicated website,

11       "covid19medkits.com," advertising COVID-19 treatments;

12                    b.      STALEY would solicit others,           including an associate and

13       an employee, for "extra" tablets of hydroxychloroquine, which he planned

14       to    resell to customers and others as part of his COVID-19 treatment

15       kits;

16                    c.    STALEY     would    write       prescriptions,      including      sham
17       prescriptions, for hydroxychloroquine, chloroquine, and mefloquine, for

18       his immediate family members, associates, acquaintances, and employees,

19       in an effort to obtain the drugs "by any means necessary";

20                    d.   STALEY would solicit investors for his COVID-19 treatment

21       kit   venture,    including    by   promising       extraordinary     returns   on   their

22       investments over a short time period;

23                    e.   STALEY would contact Chinese suppliers who claimed to be

24       selling kilogram-quantities of hydroxychloroquine powder for import to

25       the United States and would plan with them to use false                      statements,

26       including false classifications as to quality and value, to deceive U.S.

27       Customs to help ensure that the shipments would be admitted into the

28       United States, and would not be rejected or delayed;

                                                      4
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     1                   f.      In    discussions      with      a   potential      new   customer,    STALEY

     2    would make false promises about the ability of Skinny Beach's advertised

     3   medicines to cure or provide immunity from COVID-19;

     4                   g.     After     learning        he    was     the     subject     of   a   criminal

     5    investigation, STALEY would try to conceal his fraud by writing messages

     6   to a Chinese supplier falsely suggesting that he had not planned with

     7   them to deceive U.S. Customs;

     8             10.   To    carry    out     the     scheme,       STALEY    committed,       caused,   and

     9   directed the following acts in execution, among others:

10                       a.     On or about March 27, 2020, STALEY caused to be sent an

11       email to thousands of potential customers containing "[q]uick thoughts

12       on the COVID-19 pandemic from Dr. Staley" and adding "Dr. Staley's team

13       now       offering    COVID-19       treatment    packs       with    telemedicine      assessment:

14       hydroxychloroquine and azi thromycin kits now available!"; in that email,

15       STALEY and Skinny Beach claimed that:

16                              i.     Potential customers should "NOT BELIEVE THE REPORTS

17       THAT HYDROXYCHLOROQUINE DOESN'T WORK!";

18                             ii.     China      and     India       had     just   halted      exports    of
19       hydroxychloroquine to the United States and asked,                           "Why would they do

20       that if it doesn't work?";

21                            iii.     "The      government           [was]     telling       doctors      and
22       pharmacists NOT to use a potentially 100% curative medication in the

23       middle of a war against a lethal virus";

24                            iv.      STALEY had "secured a limited supply of these meds

25       and [was]       now making them available to patients through telemedicine";

26       and

27                             v.      COVID-19 treatment packs were available for purchase

28       at    a   linked website,        which    included an offer for              "COVID-19 Medicine

                                                            5
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     1    Resistance         Pack     (Family),n         which   included        hydroxychloroquine,       for
     2    $3,995;

     3                  b.      On or about March 28, 2020, STALEY sent a direct message

     4    to a Skinny Beach employee                   (Employee 1)    asking whether Employee 1 had

     5    any "extran tablets of hydroxychloroquine from Employee 1' s                               existing

     6   prescription for lupus,                 claiming that STALEY intended to use them for

     7   another Skinny Beach employee who was experiencing COVID-19 symptoms;

     8                  c.     On     or       about     March   29,     2020,     without     Employee 1' s

     9   knowledge or consent,                 STALEY wrote a sham prescription for Employee 1

10        (listing Employee l's name, date of birth, and prior residential address)

11       for   180   tablets          of       200mg    hydroxychloroquine,            supposedly   to   treat

12       rheumatoid arthritis, which was not a condition that Employee 1 suffered

13       from; STALEY subsequently filled the prescription at an online pharmacy

14       and obtained 90 tablets·of hydroxychloroquine for himself by pretending

15       to be Employee 1, as further described in paragraph 10.f.;

16                   d.        On or about March 30, 2020, STALEY sent a direct message
17       to    "Kevin        Yang,n        a    supposed     seller      of      kilogram-quantities       of

18       hydroxychloroquine powder, on the Chinese online sales platform Alibaba;

19       as part of his direct message exchange with Yang, STALEY asked, "[W]hat

20       permissions will I need to get the product through US Customs ?n; Yang

21       answered, "We can change the product name to export, for example, we can

22       replace hydroxychloroquine export with yam extract n;                             STALEY replied,

23       "[E]xcellentn;        days later,             STALEY touted to a potential new customer

24       that he "got the last tank of .                     . hydroxychloroquine smuggled out of

25       China,   Sunday night at 1: 00 a. m.                in the morning,       n    and added that the

26       broker "smuggled it out                       . by saying it was sweet potato extractn;

27                   e.       On or about March 30,              2020,    STALEY suggested the same

28       mislabeling technique to another supposed Alibaba seller,                             "Evan Du,n;

                                                             6
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 1   STALEY asked Du about a separate shipment of hydroxychloroquine powder
 2   that they were negotiating,           "Will it get held up in US customs?";                     Du

 3   replied, "[W]hether it can be released by US customs, to be honest, we
 4   are not sure we don't know what will US customs require"; STALEY wrote

 5   back, "Will you label it as yam extract? Maybe we can label the shipment
 6 paperwork to not raise flags";             Du responded,             "[S]orry,    we must do it

 7   legally should label as it is otherwise the customs won't release";
 8              f.     On     or   about    March       31,     2020,     without     Employee      l's

 9   knowledge or consent,         STALEY submitted an             order    for     180   tablets    of

10   hydroxychloroquine at online pharmacy H.H., purportedly for Employee 1
11   but in truth to use the tablets for his COVID-19 venture; during the

12   online submission process,        STALEY answered a series of questions-such
13   as, "Do you have any drug allergies?"-as if he were Employee 1; STALEY

14   and Skinny Beach paid H. H.           $ 90. 00 for the 90 tablets he was able to

15   obtain, for a price of roughly $1 per tablet;

16              g.     On or about March 31, 2020, STALEY submitted an order for

17   hydroxychloroquine for a friend (Associate 1) at online pharmacy H.H.;

18   during   the    online    submission     process,        STALEY      answered    a   series     of
19   questions-such as,       "Do you have any health conditions?"-as if he were

20   Associate 1;

21              h.     On or about April 1,             2020,    STALEY faxed a copy of the

22   sham prescription for Employee 1 bearing the false rheumatoid arthritis

23   diagnosis to online pharmacy H.H. in order to fill STALEY's order for

24   hydroxychloroquine supposedly for Employee 1;
25              i.     On or about March 31 and April 1, 2020, STALEY submitted

26   an order for 180 tablets of hydroxychloroquine for Employee 1 and a

27   separate order for 180 tablets of hydroxychloroquine for Associate 1 at

28   online pharmacy H.W.H.; STALEY faxed a copy of the sham prescription for
                                                    7
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 1   Employee    1     and     a    copy    of    a    prescription          for    Associate          1    to   online

 2   pharmacy H.W.H.;

 3                j.         On or about April 2, 2020, based on STALEY' s order, online

 4   pharmacy H. H.       mailed a          prescription bottle                containing         90 tablets             of

 5   hydroxychloroquine prescribed to Employee 1 to Skinny Beach's Carmel

 6   Valley location;              STALEY    kept       the    tablets       for   himself        to       use   in his

 7   COVID-19 venture instead of providing them to Employee l;

 8               k.          On or     about April            3,    2 020,   STALEY told an undercover

 9   agent who       claimed to be           a    prospective          customer          interested in Skinny

10   Beach's    COVID-19            treatment          kits        (UC-1)     that       personal          protective

11   equipment was "not going to save you," but added that he had a                                                   small

12   amount of "anti-malarials,                   which cures the disease";                  during the call,

13   STALEY    made     the        following          statements       about       the    drugs        that      he     was

14   promoting to UC-1:

15                        i.         That hydroxychloroquine was "incredible," and that

16   "there has        never       before,       except       for    Hepatitis       C,    been                  in     the

17   history of medicine .                       a situation where a medication is completely

18   curative of a virus,,;

19                       ii.         That if UC-1 was coughing and short of breath at

20   noon today,       after starting UC-l's hydroxychloroquine dose,                                      UC-1 would

21   feel "ninety-nine percent better by noon tomorrow";

22                      iii.         That    mefloquine,             which     STALEY      described             as     the

23   "Russian cure," was an effective alternative to hydroxychloroquine in

24   treating COVID-19;

25                       iv.         When UC-1 asked if hydroxychloroquine and mefloquine

26   would effectively cure someone infected with COVID-19, STALEY answered,

27   "One hundred percent.                  One hundred percent.";                 STALEY added that UC-1

28   would also be immune for at least six weeks after taking the drugs;

                                                              8
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     1                        V.     That hydroxychloroquine was a "magic bullet" and an
     2   "amazing weapon,.,;

     3                       vi.     That       hydroxychloroquine           was    "preventative          and
     4   curative," was "almost too good to be true," was "a remarkable clinical

     5   phenomenon," was an "amazing cure," and was a "miracle cure";

     6                      vii.     That while STALEY noted "[t]here are no guarantees

     7   in life," in response to UC-l's question whether STALEY would guarantee

  8      that UC-1 would be protected after taking the drugs, STALEY would "bet

  9      [his] life on" the treatment, including the use of mefloquine; and

10                         viii.     That UC-1 could "sell [his kits] on eBay for twenty-

11       five hundred a pop" if he wished;

12                    1.      On or about April 3, 2020, discussing hydroxychloroquine

1.3      with    a   prospective      customer      (Customer       1) ,    referring     to    U. K.   Prime

14       Minister Boris Johnson,            who was then hospitalized with a serious case

15       of     COVID-19,     STALEY       told   Customer      1     that     if   Johnson         were    on

16       hydroxychloroquine, he would be "completely cured";

17                    m.      On or about April 5,          2020,      STALEY told a Skinny Beach

18       customer, who later purchased three of STALEY's COVID-19 treatment kits

19       and whom he was           soliciting to     invest     in his        COVID-19    treatment        kit

20       venture     (Customer 2), that he was seeking a $25,000 minimum investment

21       and aiming to raise $350,000 in total; STALEY told Customer 2 that if

22       Customer 2 invested, STALEY would sign a promissory note that "yields a

23       repayment of triple your money in 90 days";

24                    n.     On or about April         5,    2020,         STALEY ordered a         capsule-

25       filling     machine        from    a     Chinese     company         for   use        in   turning

26       hydroxychloroquine powder into capsules that could be sold to and taken

27       by Skinny Beach customers and others;

28

                                                       9
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 1              o.    On or about April 6, 2020, STALEY finalized the terms of

 2   UC-l's order for six COVID-19 treatment kits from Skinny Beach for $4,000

 3   and spontaneously offered UC-1 both Viagra and Xanax;

 4              p.    On   or   about   April    6,     2 020,    after   collecting   UC-1' s

 5   payment of $4,000, without meeting UC-1, STALEY mailed the agreed-upon

 6   six COVID-19 treatment kits to UC-1,             consisting of four sets of drugs

 7   containing hydroxychloroquine, two sets of drugs containing chloroquine,

 8   six sets of azithromycin, one bottle of 30 tablets of generic Viagra,

 9   and one bottle of 30 tablets of generic Xanax;

10              q.    On or about April 6, 2020, STALEY solicited help from a

11   customs broker with kilogram-quantity shipments of hydroxychloroquine

12   powder from China;     STALEY told the broker,              "HQ powder coming in from

13   china very discrete [sic]. need you big time now bud, its [sic] the end

14   of the world";   when the broker asked whether STALEY was referring to

15   "Hydroquinone Powder," STALEY clarified, "hydroxychloroquine powder C19

16   cure";

17              r.    On or about April 7,           2020,   STALEY received a quote for

18   rush chemical analysis of hydroxychloroquine powder from a San Diego

19   chemical analysis firm;
20              s.    On or about April 9,           2020,   STALEY caused to be sent by

21   international private carrier a shipment of 12 kilograms of powder that

22   he believed to be hydroxychloroquine powder intentionally mislabeled as

23   "yam extract" addressed to his attention at Skinny Beach's Carmel Valley

24   location   (though in fact,    unbeknownst to STALEY,            the contents of the

25   shipment was actually baking soda);

26              t.    On April 10, 2020, when asked by federal agents whether

27   Skinny Beach had ever said that its COVID-19 treatment packages were a

28   "one hundred percent       effective   cure,"       STALEY     sought   to   conceal   his

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     1    fraudulent conduct from law enforcement by answering,                     "No                that
     2   would be foolish.          We would never have said anything like that"; when

     3   asked about       obtaining hydroxychloroquine            from China,      STALEY further
     4   sought to conceal his scheme by falsely reporting that for "non-narcotic

     5 meds,     and vitamins                [it]   gets through Customs,       so that                . we
     6 don't have to mislabel it or anything";

     7               u.      On or about April 13, 2020, negotiating the purchase of
 8       another shipment of multiple kilograms of hydroxychloroquine powder from
     9   a second Chinese supplier on Alibaba, STALEY wrote in a direct message,

10       "The most important thing is that we get the product here without it
11       being detained and we need to do that by any means necessary";

12                   v.      On April 16, 2020, when asked by federal agents during a
13       warrant    search     of   Skinny     Beach    whether,    before     he   sent         out   the

14       medications as part of his family treatment kits,                    STALEY obtained all

15       of the relevant information about each family member,                      STALEY falsely
16       replied,    "Absolutely";         when      asked    about     the     source           of    his

17       hydroxychloroquine tablets, STALEY falsely claimed that Employee 1 had

18       "allowed [him] to use her lupus diagnosis to order whatever tabs is on
19       that bottle.           from [H.H.];"

20                  w.      On April 16, 2020, following a warrant search of Skinny
21       Beach by federal agents and notification of a criminal complaint filed

22       against him,     STALEY sought to conceal his scheme from law enforcement

23       by   contacting     Yang   and   falsely      claiming,   "I   thought     we    labeled       it

24       properly as HXQ [hydroxychloroquine] because the chinese                        [sic]    export

25       ban was lifted?" Yang responded, "[W]e did not label HXQ. We pasted yam
26       extract, which we agree from the beginning.";

27                  x.      On April 17, 2020, the day of his arraignment and roughly
28       eight days after the powder had shipped, STALEY continued his effort to
                                                       11
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     1    conceal his scheme by telling Yang, "We need to have it properly labeled

     2   as   hydroxychloroquine     or   it   won't   make   it    through    customs,"   and

     3   requesting that Yang relabel the shipment,           "[o] therwise we are facing

     4   potential criminal charges and FBI investigation for something we did
     5   not intend to deceive customs.";

     6         11.   For the purpose of executing and attempting to execute the

     7   above-described scheme,      on or about the following dates,            within the

     8   Southern District of California and elsewhere, STALEY knowingly caused

     9   to be sent and delivered by mail and by private and commercial interstate
10       carrier the following mailings:

11                   a.   Count 1:   On or about April 2,          2020,   a package sent by
12       U.S. mail from Culver City, California to Skinny Beach in Carmel Valley,

13       California containing a prescription bottle bearing Employee l's name

14       filled with 90 tablets of 200 milligrams of hydroxychloroquine sulfate.
15                   b.   Count 2: On or about April 9,       2020, a package delivered
16       by U.S. mail containing a family-sized "COVID-19 Treatment Pack" sent

17       from Skinny Beach in Carmel Valley, California to UC-1 in exchange for
18       payment of $4,000; and

19                   c.   Count 3: On or about April 9, 2020, a package containing

20       12 kilograms of powder which STALEY believed to be hydroxychloroquine

21       and which was intentionally mislabeled "yam extract," sent via private
22       carrier OHL from Shaanxi, China and addressed to be delivered to STALEY

23       at Skinny Beach in Carmel Valley, California.

24       All in violation of Title 18, United States Code, Section 1341.

25                                          Count 4
                                  Importation Contrary to Law
26                                     18 u.s.c. § 545
27            12.    Paragraphs 1 through 5 are hereby incorporated by reference
28       as if fully stated herein.
                                                 12
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 1          13.    On or about April 16, 2020, within the Southern District of

 2   California,         defendant   JENNINGS   RYAN    STALEY    did   fraudulently   and

 3   knowingly import and bring into the United States, and willfully cause

 4   to be imported and brought into the United States, merchandise, to wit,

 5   12 kilograms of baking soda labeled as yam extract, contrary to law, in

 6   that he knowingly effected the entry of such merchandise upon a false

 7   classification as to quality and value, in violation of Title 18, United

 8   States Code, Section 541.

 9   All in violation of Title 18, United States Code, Sections 545 and 2.

10                                           Count 5
                                        False Statement
11                                   18 U.S.C. § lOOl(a) (2)

12          14.    Paragraphs 1 through 5 are hereby incorporated by reference

13   as if fully stated herein.
14          15.    On or about April 10, 2020, within the Southern District of

15   California, defendant JENNINGS RYAN STALEY did knowingly and willfully

16   make   a     materially    false,   fictitious,    and   fraudulent   statement   and

17   representation in a matter within the              jurisdiction of the executive

18   branch of the Government of the United States by stating and representing

19   to agents from the Federal Bureau of Investigation that STALEY and Skinny

20   Beach did not say that Skinny Beach's treatment packages were a one

21   hundred percent effective cure for COVID-19,                that saying so would be

22   foolish, and that "we would never have said anything like that," which

23   statements and representations were false because, as defendant STALEY

24   then and there well knew, he had told a potential customer, UC-1, a week

25   earlier      that   hydroxychloroquine     was   "completely curative,"    a   "magic

26   bullet," an "amazing cure," and a "miracle cure," and when asked by

27   UC-1 if hydroxychloroquine and mefloquine would effectively cure someone
28
                                                13
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     1    infected with       COVID-19,         STALEY    answered,      "One   hundred    percent.   One

     2   hundred percent."

     3   All in violation of Title 18, United States Code, Section 1001 (a) (2).

     4                                                Count 6
                                                 False Statement
     5                                        18 U.S.C. § lOOl(a) (2)
     6          16.    Pa::_agra_phs    1=_   through" 5 are hereby incorporated by reference
     7   as if fully stated herein.
     8          17.    On or about April 16, 2020, within the Southern District of

     9   California, defendant JENNINGS RYAN STALEY did knowingly and willfully

10       make    a    materially       false,       fictitious,    and    fraudulent      statement   and

11       representation in a matter within the                     jurisdiction of the        executive

12       branch of the Government of the United States by stating and representing

13       to agents from the Federal Bureau of Investigation and the Food and Drug
14       Administration,       Office          of    Criminal     Investigations,      that    STALEY'S
15       employee, Employee 1, "allowed [him] to use her lupus diagnosis to order

16       whatever tabs is on that bottle . . . from [H.H.]," which statements and

17       representations were false because, as defendant STALEY then and there

18       well knew, Employee 1 did not give STALEY permission to use her personal

19       medical information to write a prescription for hydroxychloroquine and

20       did not even know that STALEY had done so,                      and because STALEY used a
21       false diagnosis of rheumatoid arthritis for the prescription instead of
22       Employee l's true diagnosis of lupus.
23       All in violation of Title 18, United States Code, Section 1001 (a) (2).
24                                                    Count 7
25                                               False Statement
                                              18 U.S.C. § lOOl(a) (2)
26

27              18.    Paragraphs 1 through 5 are hereby incorporated by reference

28       as if fully stated herein.

                                                          14
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     1            19.     On or about April 16, 2020, within the Southern District of

     2    California, defendant JENNINGS RYAN STALEY did knowingly and willfully

     3 make       a     materially      false,    fictitious,    and    fraudulent      statement    and

     4    representation in a matter within the                  jurisdiction of the executive

     5   branch of the Government of the United States by stating and representing

     6   to agents from the Federal Bureau of Investigation and the Food and Drug

     7   Administration,          Office of Criminal Investigations,              that "Absolutely!"

     8   STALEY and Skinny Beach would get all of the relevant information about

     9   each family member before sending out medications in a COVID-19 family

10       treatment kit, which statements and representations were false because,

11       as defendant STALEY then and there well knew, STALEY and Skinny Beach

12       did not        obtain    the   names,    dates    of birth,    medical     history,     or any

13       information about drug allergies                 and interactions        for any of UC-1' s

14       purported family members,               or any such information          ( other than UC-1' s

15       name)    for UC-1 before shipping six COVID-19 kits to UC-1 on or about
16 April 6, 2020.

17       All in violation of Title 18, United States Code, Section l00l(a) (2).
18                                                  Count 8
                                           Aggravated Identity Theft
19                                             18 U.S.C. § 1028A
20               20.     Paragraphs 1 through 5 are hereby incorporated by reference
21       as if fully stated herein.
22               21.     On or about March 31, 2020, within the Southern District of

23       California and elsewhere, defendant JENNINGS RYAN STALEY, during and in

24       relation        to   a   felony    violation      of Title    18,     United   States    Code,

25       Section 1341 (Mail Fraud),              knowingly transferred, possessed, and used,

26       without lawful authority, a means of identification of another person,

27       to wit,        the   name,   date of birth,       and former        residential address     of
28

                                                          15
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     1    Employee       1   on    a     sham      prescription,              knowing     that     the     means     of
     2    identification belonged to another actual person.

     3 All in violation of Title 18, United States Code, Section 1028A.
     4                                             CRIMINAL FORFEITURE

     5           22.     The allegations contained in this Superseding Indictment are
     6 hereby          realleged       and    incorporated by            reference        for    the     purpose    of
     7    alleging forfeitures               pursuant          to     Title     18,     United         States    Code,
     8    Sections 545,       981 (a) (1) (C),           and    982 (a) (2) (B),        and   Title      28,    United
     9   States Code, Section 246l(c).

10               23.     Upon conviction of one or more of the offenses in violation
11       of Title 18,        United States Code,                    Section 1341 set forth in Counts 1
12       through 3 of this Superseding Indictment, defendant JENNINGS RYAN STALEY
13       shall forfeit to the United States of America,                                 pursuant to Title 18,

14       United States Code, Section 981 (a) (1) (C),                         and Title 28,        United States

15       Code,     Section        2461 (c),        all     property,          real      and     personal,        which
16       constitutes or is derived from proceeds of the offenses and all property
17       traceable to such property.

18               24.    Upon conviction of the offense in violation of Title 18, United
19       States    Code,     Section         545   set    forth       in Count        4 of      this    Superseding

20       Indictment, defendant JENNINGS RYAN STALEY shall forfeit to the United

21       States of America, pursuant to Title 18, United States Code, Section 545,

22       all merchandise          introduced         into       the    United States,           in violation        of

23       Section 545,        or the value thereof,                   and, pursuant to Title 18,                 United

24       States Code,        Section         982 (a) (2) (B),        all property,        real     and personal,

25       which constitutes or is derived from proceeds of the offense and all
26       property traceable to such property.

27       //

28       //

                                                                16
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     1         25.      If any of the property described above, as a result of any act
     2   or omission of the defendant:

     3                a.     cannot be located upon the exercise of due diligence;
     4                b.     has been transferred or sold to,             or deposited with,       a

     5   third party;

     6                c.     has been placed beyond the jurisdiction of the court;

     7                d.     has been substantially diminished in value; or

     8                e.     has been commingled with other property that cannot be

     9   divided     without   difficulty,     the   United    States     of   America   shall    be
10       entitled to       forfeiture   of substitute property pursuant            to Title      18,

11       United States Code,       Section 298 (b)        and Title 28,    United States Code,
12       Section 2461 (c).

13       All pursuant to Title 18, United States Code, Sections 545, 981 (a) (1) (C),

14       and 982 (a) (2) (B), and Title 28, United States Code, Section 2461 (c).

15             DATED:      December 2, 2020.

16                                                           A TRUE BILL:
17

18                                                           =-----+--'--"'~~}Ja~fQS,.-,--o_
19       ROBERTS. BREWER, JR.
         United States Attorney
20

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22
         By:
               H~rJ'!w.
               JACLYN STAHL
                            PILCHAK

               Assistant U.S. Attorneys
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